       2:18-cv-03326-RMG       Date Filed 02/06/19      Entry Number 111         Page 1 of 8




                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

    CITY OF BEAUFORT, et al.,                 )
                                              )   Civ. No. 2:18-cv-3326-RMG
                Plaintiffs,                   )
                                              )   (Consolidated with 2:18-cv-3327-RMG)
                        v.                    )
                                              )   FEDERAL DEFENDANTS’ MOTION ON
    NATIONAL MARINE FISHERIES                 )   BEHALF OF BUREAU OF OCEAN
    SERVICE, et al.,                          )   ENERGY MANAGEMENT FOR
                                              )   CLARIFICATION OF THE COURT’S
                Defendants.                   )   ORDER GRANTING STAY AND ALL
                                              )   WRITS ACT INJUNCTION (ECF No. 75)
                                              )



         On behalf of the Bureau of Ocean Energy Management (“BOEM”), 1 Federal Defendants

seek clarification of this Court’s January 18, 2019 Order, ECF No. 75 (“Order”), enjoining

“Federal Defendants, BOEM, and any other federal agency or entity from taking action to

promulgate permits, otherwise approve, or take any other official action regarding the pending


1
   To the extent that the Court deems it necessary, BOEM also moves for limited intervention for
the purpose of seeking clarification on the scope of the January 18 Order. Federal Rule of Civil
Procedure 24(a)(2) permits intervention as of right if “the applicant can demonstrate: (1) an
interest in the subject matter of the action; (2) that the protection of this interest would be
impaired because of the action; and (3) that the applicant’s interest is not adequately represented
by existing parties to the litigation.” Teague v. Bakker, 931 F.2d 259, 260-61 (4th Cir. 1991)
(citation omitted). Here, BOEM satisfies all three elements of this test, and is therefore entitled
to limited intervention. First, BOEM has an interest in the subject matter of this action because
Plaintiffs challenge seismic survey testing in the Atlantic Outer Continental Shelf (“OCS”) and
BOEM is the agency charged by statute with processing the permits for any such testing.
Moreover, the January 18 Order specifically enjoins BOEM. Second, BOEM’s interest in
carrying out its statutory mandate to review and process OCS permits for seismic survey testing
is impaired because BOEM has stopped its environmental analyses and other preparatory work
for the pending permit applications in light of the Order. Third, Federal Defendants are charged
with administering different statutory mandates and their interests, although coextensive with
that of BOEM, are sufficiently distinct to warrant BOEM’s intervention to allow it to seek
clarification of the Order.
     2:18-cv-03326-RMG          Date Filed 02/06/19       Entry Number 111         Page 2 of 8




permit applications for oil and gas surveys in the Atlantic based on the five incidental harassment

applications issued by the NMFS . . . [until] the Court has ruled on [the pending] motions [to

intervene (Dkt. Nos. 34, 59)].” Order at 9. Because BOEM is unsure as to the scope of the

injunction issued, BOEM immediately ceased all preparatory work related to the subject pending

survey permit applications upon receipt of the Court’s Order, and will continue to do so pending

clarification from the Court. Decl. of W. Cruickshank (02/05/2019) ¶ 4. 2

       Federal Defendants seek clarification of whether the Order—and its prohibition on actions

“promulgat[ing],” “approving” or taking “other official actions” on the pending survey permit

applications—was broadly intended to enjoin environmental studies and other preparatory work,

or was instead more narrowly intended to enjoin BOEM from taking final agency action in the

form of a final determination on the pending survey permit applications. Two grounds support

reading the Order as only prohibiting BOEM from taking final agency action. First, the Court’s

“power to enjoin agency actions to preserve [its] jurisdiction” in this case need only extend to final

action on the applications rather than preparatory work by the agency. Order at 7. Second, there

will be no intervening prejudice to proposed intervenors if BOEM were allowed to proceed with

preparatory activities. Federal Defendants therefore respectfully seek clarification whether BOEM

may proceed with preparatory work activities on the pending survey permits.

       Pursuant to LRCP 7.02, on January 31, 2019, counsel for the Federal Defendants conferred

with opposing counsel and proposed intervenors. Counsel for Plaintiffs City of Beaufort, et al.,

responded that they reserve their right to respond. Counsel for Plaintiffs South Carolina Coastal



2
 Federal Defendants file this motion for clarification shortly after filing their responses to the
States’ pending motions to intervene. In accordance with the Court’s Order, should the Court
rule on the motions to intervene, the injunction will no longer be in force, and Federal
Defendants will no longer require clarification from the Court.




                                                -2-
     2:18-cv-03326-RMG          Date Filed 02/06/19       Entry Number 111         Page 3 of 8




Conservation League, et al., responded that they take no position.            Counsel for proposed

intervenors International Association of Geophysical Contractors, et al., responded that they have

no objection. Counsel for proposed intervenors State of Maryland, et al., and counsel for proposed

intervenor State of South Carolina responded that they also reserve their positions.

                              BACKGROUND AND ARGUMENT

       The Court’s stated reasons for issuing the January 18, 2019 Order were to prevent prejudice

to the proposed intervenors while their motions to intervene were stayed during the recent partial

lapse in government appropriations and to ensure the effectiveness of the Court’s jurisdiction.

Order at 9 (“without an injunction, the proposed intervenors would be prejudiced and left without

redress if BOEM issues permits during the lapse in appropriations.”); id. at 7 (“substantial. . . risk

of prejudice” to the other litigants if BOEM “act[s] on the pending applications and seismic testing

. . . commence[s] during the pendency of the stay” because “the petitioning intervenor states would

be powerless to respond since their motion to intervene has not been addressed by this Court

because the Federal Defendants have been excused from their obligation to respond to those

motions during the stay.”); id. at 8 (noting that allowing seismic testing to proceed before the

Court adjudicated the State of South Carolina’s intervention motion would “impact the effectiveness

of the jurisdiction of this Court and would frustrate this Court’s grant of a stay to the Federal

Defendants”). However, none of BOEM’s preparatory work activities would have the effect of

prejudicing the proposed intervenor states or impacting this Court’s jurisdiction.

       BOEM’s proposed preliminary analysis and processing include: (a) completion of its

analysis under the Outer Continental Shelf Lands Act (“OCSLA”) and implementing regulations

(30 C.F.R. part 551); (b) preparation of environmental reviews in compliance with the National

Environmental Policy Act (“NEPA”); (c) analysis of the proposed activities for compliance with

other applicable regulatory and statutory requirements; and (d) drafting (but not finalizing)



                                                -3-
       2:18-cv-03326-RMG         Date Filed 02/06/19      Entry Number 111        Page 4 of 8




decision memoranda, environmental analyses, and necessary permit conditions of approval that

would need to be in place before BOEM makes a final decision on the pending permit applications.

Decl. of W. Cruickshank (02/05/2019) ¶ 5. Allowing this preparatory activity during the duration

of the stay is legally appropriate and consistent with the Order for at least two reasons.

         First, in compliance with the Order, BOEM will not issue its final determination on the

pending survey permit applications until the Court rules on the pending motions to intervene,

alleviating any potential prejudice to proposed intervenors. 3          Decl. of W. Cruickshank

(02/05/2019) ¶¶ 6-7. Furthermore, all parties, including parties granted intervention, will have an

opportunity to seek relief from the Court after permit issuance. No seismic surveys can commence

without a permit from BOEM. 30 C.F.R. § 551.4. Nor would survey activities immediately

commence upon permit issuance because, if BOEM ultimately issues any survey permits, BOEM

will require, as a condition of approval, that the permittee submit a notice to BOEM announcing

when the permittee plans to initiate survey activities. Decl. of W. Cruickshank (01/17/2019) ¶ 9.

The permittee must submit the notice at least 30 days prior to conducting any activities under the

permit. Id. Thus, BOEM’s ongoing preparatory work would not directly impact proposed

intervenors because no permit will be issued until after the Court rules on the motions to intervene,

and the parties will have a minimum of 30 days after any permits issue to seek redress.

         Second, enjoining preparatory activities while the intervention motions are pending is not

necessary to maintain the Court’s jurisdiction. As stated above, BOEM will comply with the

Court’s Order regarding the timing of its final determination on the pending permit applications.

Thus, it will not approve any survey permits — and, by extension, no survey activity can

commence — in the interim. Decl. of W. Cruickshank (02/05/2019) ¶¶ 6-7. Clarifying the Order


3
    Federal government appropriations have been restored effective January 25, 2019.




                                                -4-
     2:18-cv-03326-RMG           Date Filed 02/06/19       Entry Number 111         Page 5 of 8




so that BOEM may continue preparatory work on the pending permit applications will not impede

the Court’s ability to hear the proposed intervenors’ motions or their opportunity to seek relief

from the Court. Consequently, granting this motion is consistent with the Supreme Court law

recognizing that injunctive relief under the All Writs Act is to be used sparingly and only in the

most critical and exigent circumstances. Brown v. Gilmore, 533 U.S. 1301, 1303 (2001); see also

Ohio Citizens for Responsible Energy, Inc. v. Nuclear Regulatory Comm’n, 479 U.S. 1312, 1313

(1986); Wis. Right to Life. v. Fed. Election Comm’n, 542 U.S. 1305, 1306 (2004); KindHearts

for Charitable Humanitarian Dev. v. Geithner, 676 F. Supp. 2d 649, 655 (N.D. Ohio 2009). 4

       Tailoring the Court’s January 18 Order so as to allow preparatory activities (but not a final

determination on the pending permit applications) during the stay is also consistent with the

principle that “[t]he powers of the federal courts under the All Writs Act are not unlimited,” United

States v. Venneri, 782 F. Supp. 1091, 1094 (D. Md. 1991), and injunctive relief generally “should

be tailored to restrain no more than what is reasonably required to accomplish its ends.” Nat’l

Audubon Soc’y v. Dep’t of Navy, 422 F.3d 174, 201 (4th Cir. 2005) (quoting S.C. Dep’t of Wildlife

& Marine Res. v. Marsh, 866 F.2d 97, 100 (4th Cir. 1989)); see also United States v. N.Y. Tel.

Co., 434 U.S. 159, 172 (1977) (“This Court has repeatedly recognized the power of a federal court

to issue such commands under the All Writs Act as may be necessary or appropriate to effectuate

and prevent the frustration of orders it has previously issued in its exercise of jurisdiction otherwise



4
  By filing this motion for clarification, Federal Defendants are not waiving any rights to contest
the propriety of the use of the All Writs Act in this case, including the question of whether a
court issuing an injunction under the All Writs Act must consider the four equitable factors for
injunctive relief as set forth by the Supreme Court in eBay Inc. v. MercExchange, L.L.C., 547
U.S. 388, 391 (2006) and Winter v. Natural Resources Defense Council, 555 U.S. 7, 32 (2008).
See In re Jimmy John's Overtime Litig., 877 F.3d 756, 769–70 (7th Cir. 2017) (Rule 65 and the
traditional injunction factors apply to injunctions issued under the All Writs Act); Fla. Med.
Ass'n v. US. Dep't of Health, Educ. & Welfare, 601 F.2d 199, 202 (5th Cir. 1979) (same).




                                                 -5-
     2:18-cv-03326-RMG          Date Filed 02/06/19      Entry Number 111         Page 6 of 8




obtained.”); United States v. Int’l Bhd. of Teamsters, 266 F.3d 45, 50-51 (2d Cir. 2001). Allowing

the preparatory activities described by BOEM to proceed is consistent with the Court’s expressed

concerns of avoiding prejudice to the proposed intervenors and preserving the Court’s jurisdiction.

As discussed above, BOEM’s review work of the pending survey permit applications includes

completing its analysis under OCSLA and implementing regulations at 30 C.F.R. part 551,

preparation of environmental analyses in compliance with NEPA, and drafting (but not finalizing)

decision memoranda, environmental analyses, and necessary permit conditions of approval that

would need to be in place before BOEM makes a final decision on the pending permit applications.

Decl. of W. Cruickshank (02/05/2019) ¶ 5. This standard preparatory work is not normally subject

to judicial review because it is not final agency action. See FTC v. Dean Foods Co., 384 U.S. 597,

604 (1966) (noting in case assessing the All Writs Act that “decisions of this Court ‘have

recognized a limited judicial power to preserve the court’s jurisdiction or maintain the status quo

by injunction pending review of an agency’s action through the prescribed statutory channels.

‘Such power has been deemed merely incidental to the courts’ jurisdiction to review final agency

action.’” (quoting Arrow Transp. Co. v. S. Ry. Co., 372 U.S. 658, 671, n. 22 (1963)). Moreover,

allowing BOEM to continue this work during the injunction would mean that the Order would

“impinge as little as possible on [BOEM’s] normal practices and the normal operation of the statute

and regulations, while protecting [the proposed intervenors’] right to be heard before it is too late

to avoid significant injury.” AstraZeneca Pharm. v. Burwell, 197 F. Supp. 3d 53, 58 (D.D.C.

2016).




                                                -6-
     2:18-cv-03326-RMG         Date Filed 02/06/19     Entry Number 111        Page 7 of 8




                                       CONCLUSION

       For these reasons, Federal Defendants request that the Court grant their motion for

clarification of the Order to specifically allow the Bureau of Ocean Energy Management to resume

its preparatory work on the pending survey permit applications.

       Respectfully submitted this 6th day of February, 2019.

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                                              -7-
     2:18-cv-03326-RMG          Date Filed 02/06/19     Entry Number 111       Page 8 of 8




                                 CERTIFICATE OF SERVICE

          I hereby certify that on February 6, 2019, I electronically filed the foregoing Federal

Defendants’ Motion On Behalf Of Bureau Of Ocean Energy Management For Clarification of the

Court’s Order Granting Stay and All Writs Act Injunction (ECF No. 75) with the Clerk of Court

using the CM/ECF system, which will send electronic notification of such filing to all counsel of

record.

                                                       /s/ Jonelle M. Dilley
